 Case 3:18-cv-00199-MHL Document 30 Filed 02/12/19 Page 1 of 1 PageID# 136



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

JONATHAN SHIN,

                 Plaintiff,

v.                                                               Civil Action No. 3:18cv199

KOBE ENTERPRISES, INC. et al.,

                 Defendants.
                                               ORDER

          This matter is before the Court on the Report and Recommendation of the Magistrate

Judge (the "R&R") entered on January 28, 2019. (ECF No. 26.) Plaintiff Jonathan Shin

submitted a notice with the Court affirmatively stating that he has no objections to the R&R.

(ECF No. 27.) Defendants Kobe Enterprises, Inc. d/b/a Kobe Japanese Steak & Sushi and Jong

Sun have not filed any objection to the R&R and the time to do so has expired. Having

considered the matter and deeming it otherwise proper and just to do so, it is hereby ORDERED:

          (1)    The R&R, (ECF No. 26), is ADOPTED as the Opinion of this Court; and

          (2)    JUDGMENT is ENTERED in favor of Plaintiff against Defendants in the
                 an1ount of $18,562.92.

          The Clerk is directed to close the case and send a copy of this Order to all counsel of

record.

          It is SO ORDERED.




Date: ·£-/ }1- /} q
Richmond, Virginia
